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MINUTE ENTRY
PAPILLION, J.
September 12, 2023

                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

 LOUISIANA STATE, ET AL                                  CIVIL ACTION

 VERSUS                                                  NO. 23-1839

 DEPARTMENT OF HOMELAND                                  SECTION: “P” (1)
 SECURITY, ET AL

                                       MINUTE ENTRY

       On September 12, 2023, the Court held a telephone status conference to discuss logistics

for the hearing and oral argument set for September 14, 2023.

       Participants were:

       •   Morgan Brungard, Tracy Short, Shae McPhee, Jr., Jeffrey Hetzel, and Charles Eldred

           for Plaintiffs.

       •   Benjamin Takemoto and Krystal-Rose Perez for Defendants.

       The Court informed the parties that it will first hear oral argument on Defendants’ Motion

to Dismiss Plaintiffs’ Complaint (R. Doc. 47), and each side will have 15 minutes to present their

arguments. The Court will then move to the hearing on Plaintiffs’ Motion for Preliminary

Injunction (R. Doc. 14). Each side will also have 15 minutes to present their arguments on this

motion. The Court will then hear witness testimony, and each side will have two and a half hours

for witness examination. The Court will allow closing remarks but has not yet determined the

amount of time each side will be allotted.
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       During the conference, the parties notified the Court of a disagreement regarding the

permissible scope of witness testimony for the preliminary injunction hearing. The Court then set

the following briefing schedule:

   •   Defendants must file their motion in limine by the end of day today, September 12, 2023.

   •   Plaintiffs must file their response by 5:00 p.m. tomorrow, September 13, 2023.



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(JS-10 00:26)
